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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN



India Wymes,

                                   Plaintiff(s),

v.                                                     Case No. 2:15−cv−10579−SFC−RSW
                                                       Hon. Sean F. Cox
William Alexander,

                                   Defendant(s).




                                      NOTICE OF REMAND

TO: OAKLAND COUNTY CIRCUIT COURT




     Enclosed are certified copies of the Order of Remand and this Court's docket sheet.

  Please acknowledge receipt of these documents by returning a time−stamped copy of this
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                                           Certification

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                   DAVID J. WEAVER, CLERK OF COURT


                                               By: s/ D. Peruski
                                                   Deputy Clerk

Dated: February 18, 2015
